              Case 3:10-cr-00222-RNC                           Document 851-1                    Filed 11/04/24   Page 1 of 1




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